                Case 2:19-bk-14989-WB               Doc 416 Filed 11/04/19 Entered 11/04/19 16:32:53                             Desc
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                     1   MORGAN, LEWIS & BOCKIUS LLP
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                     5   Attorneys for
                         Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                  CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12   In re:                                                       Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13            SCOOBEEZ, et al.1,                                  2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.           AMAZON LOGISTICS, INC.’S
                                                                 OPPOSITION TO MOTION TO FILE
                    16   _______________________________________ UNDER SEAL (DOCKET NO. 365)
                    17   Affects:                                                     Date:            November 18, 2019
                         ■ All Debtors                                                Time:            10:00 a.m.
                    18   □ Scoobeez, ONLY                                             Dept.:           United States Bankruptcy Court
                         □ Scoobeez Global, Inc., ONLY                                                 Edward Roybal Federal Building
                    19   □ Scoobur LLC, ONLY                                                           255 E Temple St, Ctrm 1375
                                                                                                       Los Angeles CA 90012
                    20
                                                                                      Judge: The Hon. Julia W. Brand
                    21

                    22

                    23            Amazon Logistics, Inc. (“Amazon”) respectfully submits the following opposition to

                    24   Hillair Capital Management, LLC’s motion to file documents under seal (Docket No. 365):

                    25

                    26

                    27   1
                              The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                              Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28        Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                      -1-
 ATTORNEYS AT LAW
   COSTA MESA
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                     1                                                      I.

                     2                                            INTRODUCTION

                     3            The present motion should be denied. Hillair Capital Management, LLC (“Hillair”), has

                     4   wholly failed to overcome the presumption that this Court’s files should be open to inspection by

                     5   the members of the public, including the parties in interest in this bankruptcy case. There is no

                     6   evidence that the Freeh Report contains confidential commercial information. Moreover, the

                     7   Freeh Report likely contains information demonstrating Hillair’s inability to competently oversee

                     8   the business conducted by Scoobeez, an issue raised by Amazon’s objection to the assumption

                     9   and assignment of its contract. Finally, the only articulated reason for filing Hillair’s proposed
                    10   Adequate Assurance Package under seal, that it may provide information to competitive bidders,

                    11   has evaporated because there are no competitive bidders. As a result, the Freeh Report and

                    12   Hillair’s Adequate Assurance Package should be filed for public view on this Court’s docket.

                    13                                                     II.

                    14                                        STATEMENT OF FACTS

                    15            The Debtors have filed a motion seeking authority to sell substantially all of their assets to

                    16   their secured lender, Hillair. Various parties in interest, including the Debtors’ shareholders,

                    17   Shahan and Shoshana Ohanessian (collectively, the “Ohanessians”), Peter and Barbara Rosenthal

                    18   (as Trustees) and Grigori Sedrakyan have filed oppositions to the proposed sale. In addition,

                    19   Amazon has objected to the proposed assumption and assignment of its contract with the Debtors
                    20   on the grounds that the contract is not an executory contract, the Debtors’ have not proposed to

                    21   cure their pre-petition defaults under that contract (or provide adequate assurances that those

                    22   defaults will be cured) and Hillair has not provided adequate assurances of its future performance

                    23   under the contract.

                    24            In support of their reply to the shareholders’ and Amazon’s objections, Hillair seeks an

                    25   order from this Court permitting it to file two documents under seal: (a) a report regarding the

                    26   Ohanessians’ alleged misappropriation of the Debtor’s assets and (b) their tender of adequate

                    27   assurances of future performance under the Amazon contract. That motion should be denied for

                    28   the reasons set forth below.
MORGAN, LEWIS &
 BOCKIUS LLP                                                               -2-
 ATTORNEYS AT LAW
   COSTA MESA
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                     1                                                         III.

                     2                                HILLAIR SHOULD NOT BE PERMITTED

                     3                             TO FILE THE FREEH REPORT UNDER SEAL

                     4   A.         Factual Background
                     5              Hillair has been providing secured financing to the Debtors since October 7, 2016.2 As of

                     6   May 10, 2019, the Debtors owed Hillair in excess of $11,000,000.3 As might be expected of a

                     7   lender with such a large “investment” in a borrower, Hillair states that it “has become very

                     8   familiar with the [Debtors’] business” and has “formed close working relationships with the

                     9   Debtors’ current management.”4 In fact, going beyond the role of a traditional lender, Hillair has
                    10   been “crucial to supporting … [the Debtors’] growth.”5 The close working relationship that

                    11   developed between the Debtors and Hillair is consistent with Hillair’s investment strategy, which

                    12   includes providing “operational support” to its portfolio companies.6

                    13              According to Hillair, some time prior to March 1, 2017, while Hillair was working closely

                    14   with the Debtors’ management and providing crucial operational support to that management, Mr.

                    15   Ohanessian misappropriated approximately $1,700,000 from the Debtors, without Hillair’s

                    16   knowledge.7 According to the whistleblower report relied upon by Hillair, Hillair was informed

                    17   about Mr. Ohanessian’s misappropriation of the Debtor’s funds on March 8, 2017.8 Although, on

                    18   March 10, 2017, Mr. Ohanessian promptly resigned as the Debtors’ Chief Executive Officer and

                    19   as a Director, four days later, in his capacity as majority shareholder, Mr. Ohanessian reinstated
                    20   himself as the Debtor’s Chief Executive Officer and appointed his wife to the Debtors’ Board of

                    21

                    22

                    23
                         2
                              Declaration of Scott D. Kaufman (Docket No. 37) at ¶ 7.
                    24   3
                              Id. at ¶ 15.
                    25   4
                              Declaration of Scott D. Kauffman (Docket No. 364) at ¶ 9.
                         5
                    26        Id.
                         6
                              Id. at ¶ 8.
                    27   7
                              Declaration of Scott D. Kauffman (Docket No. 361) at ¶ 21.
                    28   8
                              Declaration of Scott D. Kauffman (Docket No. 37) at Ex. 3.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                   -3-
 ATTORNEYS AT LAW
   COSTA MESA
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                     1   Directors.9 Amazingly, Hillair continued support the Debtors, with Mr. Ohanessian in control,

                     2   for over two years, through the filing of the Debtors’ chapter 11 cases, until this Court appointed

                     3   a Chief Restructuring Officer as required pursuant to Hillair’s stipulation with the Debtors to

                     4   allow the Debtors to continue to use Hillair’s cash collateral.10

                     5            Following the filing of the Debtors’ chapter 11 petitions, Hillair applied to this Court to

                     6   take a number of examinations pursuant to Bankruptcy Rule 2004 for the purpose, among others,

                     7   of investigating Mr. Ohanessian’s alleged misappropriations.11 On May 14, 2019, this Court

                     8   granted the foregoing application.12 After obtaining the documents requested in connection with

                     9   the Rule 2004 examinations, those documents were provided to the Freeh Group.13 “After
                    10   conducting a thorough forensic analysis of those documents, the Freeh Group prepared the Freeh

                    11   Report at the direction of Hillair’s counsel.” Id. at 3:28-4:2. The present motion seeks to file that

                    12   report under seal.

                    13   B.       The Standard for Filing Documents under Seal
                    14            Bankruptcy Code § 107(a) codifies a presumption of public access to all documents filed

                    15   in a bankruptcy case or with a bankruptcy court. 11 U.S.C. § 107(a). Gitto v. Worcester Tel. &

                    16   Gazette Corp. (In re Gitto Global Corp.), 422 F.3d 1, 7 (1st Cir. 2005). The concept of sealing

                    17   portions of the Court’s files and records is inimical to the strong guiding principal that court

                    18   records are public documents. Nixon v. Warner Communications, Inc., 435 U.S. 589, 597-598

                    19   (1978). Public access to judicial records “is of special importance in the bankruptcy arena, as
                    20   unrestricted access to judicial records fosters confidence among creditors regarding the fairness of

                    21

                    22   9
                              Hillair Capital Management, LLC’s Notice of Motion and Omnibus Motion for Entry of Order Authorizing
                              Examinations Pursuant to Federal Rule of Bankruptcy Procedure 2004 (Docket No. 35) at 9:25-26 and 9:27-
                    23        10:1.
                         10
                    24        See, Declaration Under Penalty of Perjury for Non-Individual Debtors (Docket No. 1) signed by Mr.
                              Ohanessian as “CEO;” Hillair Capital Management, LLC’s Notice of Motion and Motion to Approve Terms of
                    25        Proposed Stipulation for Interim Use of Cash Collateral (Docket No. 61) at pg. 16, ¶ 4; Order Granting
                              Debtors’ Application for an Order Authorizing and Approving the Employment and Retention of Weiss as Chief
                    26        Restructuring Officer of the Debtor Nunc pro Tunc to May 16, 2019 (Docket No. 192).
                         11
                              Docket No. 35.
                    27   12
                              Docket No. 49.
                    28   13
                              Motion to Seal at 3:27-28.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                  -4-
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                     1   the bankruptcy system.” Gitto, 422 F.3d at 7 (citing Fern v. United States Trustee (In re

                     2   Crawford), 194 F.3d 954, 960 (9th Cir. 1999)). As noted by the Ninth Circuit in Crawford, "a

                     3   blanket open access rule obviously fosters public confidence in a way that a regime shot through

                     4   with exceptions might not." Crawford at 960.

                     5            Although there is a strong public policy favoring unrestricted access to judicial records, §

                     6   107(b) provides two narrow exceptions to that policy: (1) “a trade secret or confidential research,

                     7   development, or commercial information;” or (2) to protect a person with respect to scandalous or

                     8   defamatory matter ….” 11 U.S.C. § 107(b). The Crawford court noted Section 107(b)'s two

                     9   exceptions "are construed narrowly." Crawford, 194 F.3d. at 960 n.8.
                    10            The party advocating the request to seal under Section 107 has the burden of proof. In re

                    11   Food Mgmt. Group, 359 B.R. 543, 561 (Bankr. S.D.N.Y. 2007). Sealing is permitted only on a

                    12   showing of an "extraordinary circumstance or compelling need" to keep the document private. Id.

                    13   In addition, the movant must demonstrate that "disclosure will work a clearly defined and serious

                    14   injury..." Goldstein v. Forbes (In re Cendant Corp), 260 F.3d 183, 194 (3d Cir. 2001). The

                    15   movant must show "sufficient threat of irreparable harm" before information will be sealed, and

                    16   specificity is essential. Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1071 (3rd Cir. 1984).

                    17   Broad allegations of harm, without specific examples or articulated reasoning, are insufficient.

                    18   Miller v. Indiana Hospital, 16 F.3d 549, 551 (3rd Cir. 1994).

                    19            Here, there is no allegation that the information is scandalous or defamatory. Therefore,
                    20   the motion must seek to seal under § 107(b)(1), trade secret or confidential research, development

                    21   or commercial information. As there is no indication that disclosure will involve trade secrets or

                    22   research and development, it appears that Hillair seeks to protect the Freeh Report as commercial

                    23   information.

                    24            "Confidential...commercial information" is information that would cause "an unfair

                    25   advantage to competitors by providing them information as to the commercial operations of the

                    26   debtor." Ad Hoc Protective Comm. for 10 and ½% Debenture Holders v. Intel Corp. (In re Intel

                    27   Corp.), 17 B.R. 942, 944 (Bankr. 9th Cir. 1982)). The information must be "reasonably expected

                    28   to cause the entity commercial injury," which means that "competitors will gain an unfair
MORGAN, LEWIS &
 BOCKIUS LLP                                                              -5-
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                     1   advantage." In re Alterra Heathcare Corp., 353 B.R. 66, 73 (Bankr. Del. 2006). The unfair

                     2   advantage must be “so critical to the operations of the entity seeking the protective order that its

                     3   disclosure will unfairly benefit that entity's competitors. Id. at 76.

                     4            Here, Hillair attempts to justify its request to seal the Freeh Report in two sentences in the

                     5   motion, neither of which are supported by an iota of evidence. First, Hillair contends that

                     6   “disclosure of the information contained in the Freeh Report would essentially provide a road

                     7   map for any party interested in pursuing claims against the Ohanessians for which the Debtors’ do

                     8   not have exclusive standing rights.”14 The motion does not suggest who those third parties might

                     9   be, the claims that they may hold or how anyone other than the Debtors could have claims against
                    10   Mr. Ohanessian arising from Mr. Ohanessian’s alleged misappropriation of the Debtors’ funds.

                    11   The motion also fails to show that Hillair has any claims against Mr. Ohanessian such that

                    12   disclosure of the Freeh Report would advantage anyone in preference to Hillair in seeking to

                    13   recover on such claims. Second, Hillair states that “the disclosure of the information contained in

                    14   the Freeh Report will enable the Ohanessians to take actions that may minimize their liability or

                    15   potential recovery to the detriment of the Debtors’ estates.”15 Since the Freeh Report details

                    16   findings based upon the Ohanessian’s past actions, it is hard to see how disclosure of the report

                    17   would enable the Ohanessians to minimize any liability that they may have as a result of those

                    18   past actions or jeopardize the estates’ recovery on any claim that the estates may elect to pursue.

                    19            There is simply no evidence demonstrating that disclosure of the Freeh Report would
                    20   work any competitive harm on Hillair. Rather, this Court has been presented with “Broad

                    21   allegations of harm, without specific examples or articulated reasoning.” Indiana Hospital, 16

                    22   F.3d at 551. Such arguments are insufficient to support a sealing order. Id.

                    23            The contents of the Freeh Report may be material to this Court’s consideration of the

                    24   adequacy of Hillair’s offers of adequate assurances of future performance of Scoobeez’s contract

                    25   with Amazon, assuming that the Court concludes that the contract is otherwise assumable and

                    26   assignable (which Amazon disputes). To date, we know that Hillair worked closely with the

                    27   14
                              Motion to Seal at 6:9-11
                    28   15
                              Motion to Seal at 6:11-13.
MORGAN, LEWIS &
 BOCKIUS LLP                                                               -6-
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                     1   Debtors’ management from the inception of its loan in 2016 through the date upon which the

                     2   Debtors filed their chapter 11 petitions. We also know that Hillair became aware of Mr.

                     3   Ohanessian’s alleged misappropriation of approximately $1,700,000 in March 2017. We also

                     4   know that, despite that knowledge, other than a four day hiatus in March 2017, Hillair continued

                     5   to provide operational and financial support to the Debtors with Mr. Ohanessian acting as the

                     6   Debtors’ Chief Executive Officer. On the face of things, these facts suggest that Hillair has

                     7   extremely poor judgment and is not qualified to oversee the business operations that it now seeks

                     8   to acquire. Notwithstanding, Hillair now urges this Court to ignore the provisions in Amazon’s

                     9   contract that give it a unilateral right to terminate the contract and force Amazon to do business
                    10   with Hillair. It is apparent that the Freeh Report will provide substantial insight into Mr.

                    11   Ohanessian’s activities and Hillair’s lack of attention to those activities. Amazon and the other

                    12   parties in interest in this bankruptcy case should be provided with the benefits of that insight.

                    13   Hillair’s request to file the Freeh Report under seal should be denied.

                    14                                                    IV.

                    15                          HILLAIR SHOULD NOT BE PERMITTED TO FILE

                    16                     THE “ADEQUATE PROTECTION PACKAGE” UNDER SEAL

                    17            The only justification in the motion for filing the “Adequate Protection Package” under

                    18   seal is that the disclosure of that information “would provide any other interested bidder in (sic)

                    19   confidential financial and operational information related to Hillair’s bid. Such disclosure may
                    20   prejudice Hillair in connection with the auction.”16 Because there were no Qualified Bidders

                    21   under this Court’s bidding procedures order, there was no auction and there are no other bidders

                    22   for the assets that Hillair proposes to acquire. As a result, even assuming that Hillair’s articulated

                    23   reason for seeking to seal the Adequate Protection Package had been sufficient when the motion

                    24   was filed (which it is not), there is no reason today to permit the Adequate Protection Package to

                    25   be filed under seal.

                    26

                    27

                    28   16
                              Motion to Seal at 6:14-16.
MORGAN, LEWIS &
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                     1                                                    V.

                     2                                             CONCLUSION

                     3            For the foregoing reasons, Hillair’s motion to file the Freeh Report and its proposed

                     4   Adequate Protection Package under seal should be denied.

                     5   Dated: November 4, 2019                             MORGAN, LEWIS & BOCKIUS LLP
                     6

                     7                                                       By:    /s/ Richard W. Esterkin
                                                                                        Richard W. Esterkin
                     8
                                                                                       Attorneys for Amazon Logistics, Inc.
                     9
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                      1                                 CERTIFICATE       OF SERVICE FORM

                      2                                     FOR ELECTRONIC         FILINGS

                      3            I hereby certify that on November 4,2019, I electronically filed the foregoing document,

                      4   Amazon Logistics, Inc.'s Opposition to Motion to File Under Seal (Docket No. 365), with the

                      5   Clerk of the United States Bankruptcy Court, Central District of Cali fomi a, Los Angeles

                      6   Division, using the CM/ECF system, which will send notification of such filing to those parties

                      7   registered to receive notice on this matter.

                      8

                      9                                                  Renee Robles
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MORGAN, LEWIS&
  BOCKlUsLLP
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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Opposition to Motion to
File Under Seal (Docket No. 365)


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 11/04/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                         ~    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/04/2019           , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Conway MacKenZie, Inc.           Daimler Trust                    Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            clo BK Servicing LLC             10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                    Los Angeles CA 90067
                                    Roseville MN 55113-0011
                                                                                         o     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/04/2019           , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 The Hon. Julia W. Brand, Suite 1382
 U.S. Bankruptcy Court, Roybal Federal Building
 255 E Temple St, Los Angeles CA 90012

                                                                                         o     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/04/2019          Renee Robles                                                                       ~~
 Date                       Printed Name                                                           Signature



             This form is mandatory.   II has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                              F 9013-3.1.PROOF .SERVICE
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Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
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David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
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2:19-bk-14989-WB Notice will not be electronically mailed to:


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